     Case 1:24-cv-01381-PLF    Document 47    Filed 01/08/25    Page 1 of 54




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


HESAI TECHNOLOGY CO., LTD, et al.,

                          Plaintiffs,

v.                                           Civ. Action No. 1:24-cv-01381

U.S. DEPARTMENT OF DEFENSE, et al.,

                         Defendants.



       MEMORANDUM IN SUPPORT OF DEFENDANTS’ CROSS-MOTION
           FOR SUMMARY JUDGMENT AND OPPOSITION TO
           PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
          Case 1:24-cv-01381-PLF                       Document 47                Filed 01/08/25              Page 2 of 54




                                                   TABLE OF CONTENTS
INTRODUCTION .......................................................................................................................... 1

STATEMENT OF FACTS .............................................................................................................. 2

I.        The United States’ Concerns About Chinese Military-Civil Integration ............................ 2

II.       The Hesai Group ................................................................................................................. 4

III.      The William M. (“Mac”) Thornberry National Defense Authorization Act for
          Fiscal Year 2021 (Public Law 116-283).............................................................................. 5

IV.       DoD’s Placement of Hesai on the Section 1260H List ....................................................... 5

V.        The Present Litigation ......................................................................................................... 6

STANDARD OF REVIEW ............................................................................................................ 7

ARGUMENT .................................................................................................................................. 9

I.        Substantial Evidence Supports DoD’s Conclusion that Hesai Is a “Military-Civil
          Fusion Contributor” to the Chinese Defense Industrial Base ............................................. 9

          A.         Hesai is “Affiliated With” MIIT ............................................................................. 9

                     1.         The Plain Meaning of the Phrase “Affiliated With” ................................. 10

                     2.         Substantial Evidence Supports the Finding that Hesai is “Affiliated
                                With” MIIT ............................................................................................... 15

          B.         DoD Reasonably Determined That Hesai Knowingly Received Science
                     and Technology-Related Assistance from the Government of China ................... 21

          C.         DoD Acted Within Its Authority in Designating Hesai as “Residing in or
                     Affiliated With a Military-Civil Fusion Enterprise Zone” .................................... 27

          D.         Substantial Evidence Supports DoD’s Determination that Hesai Advertises
                     on a Nongovernmental Military Equipment Procurement Platform ..................... 30

II.       DoD Was Not Required to Independently Show That Hesai Contributed to the
          Chinese Defense Industrial Base, But It Made that Showing Anyway............................. 32

          A.         The Department’s Determination Falls Within Its Statutory Authority ................ 32

          B.         The Department’s Finding Is Supported by Substantial Evidence ....................... 35

III.      DoD Acted Reasonably in Applying Section 1260H’s Statutory Terms to Its
          Factual Determinations Regarding Hesai ......................................................................... 37

                                                                      i
          Case 1:24-cv-01381-PLF                       Document 47               Filed 01/08/25             Page 3 of 54




IV.       The Department Considered Hesai’s Submissions in Making Its October 2024
          Determination That Hesai Is a “Chinese Military Company” .......................................... 39

          A.         DoD Considered Submissions From Hesai in Its Re-Listing Decision ................ 40

          B.         Hesai’s Additional Arguments Are Meritless ........................................................ 44

V.        There is No Due Process Violation ................................................................................... 47

CONCLUSION ............................................................................................................................. 50




                                                                    ii
       Case 1:24-cv-01381-PLF            Document 47        Filed 01/08/25       Page 4 of 54




                                         INTRODUCTION

       The United States Government has determined that the Chinese Communist Party’s

symbiotic relationships with certain Chinese technology companies present a national security

threat. In response, and consistent with Congress’s mandate in Section 1260H of the William M.

(“Mac”) Thornberry National Defense Authorization Act for Fiscal Year 2021 (Public Law 116-

283), § 1260H(a), 134 Stat. 3388 (2021) (“FY2021 NDAA”) to submit to Congress a list of

companies identified as “Chinese military companies” (“Section 1260H List” or “the List”), the

Deputy Secretary of Defense notified Congress that the Department of Defense (“DoD” or the

“Department”) had identified Hesai Technology Co., Ltd., (“Hesai”) as a “Chinese military

company.” Hesai and its wholly owned subsidiary Hesai Group, Inc. (collectively, “Plaintiffs”)

challenge this determination, disavowing any relationship with the Chinese government. The

administrative record provides substantial evidence that Hesai is a “military-civil fusion

contributor to the Chinese defense industrial base” because it (1) “knowingly receives assistance

from the Government of China . . . through science and technology efforts initiated under the

Chinese military industrial planning apparatus,” (2) is “affiliated with the Chinese Ministry of

Industry and Information Technology [“MIIT”], including research partnerships and projects,” (3)

“resid[es] in or [is] affiliated with a military-civil fusion enterprise zone,” and (4) “advertise[s] on

a nongovernmental military equipment procurement platform.”

       Each of those four rationales alone are enough to place Hesai on the 1260H List. But

Plaintiffs would also have the Court ignore the combined weight of the substantial evidence before

the Department. At bottom, while this Court need not agree with all of DoD’s determinations, the

Department has nonetheless shown that its analysis with respect to each rationale, and certainly in

combination, based on all evidence before it, was reasonable. Plaintiffs advance three primary


                                                   1
       Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 5 of 54




arguments throughout their briefing, none of which has merit.

       First, Plaintiffs contend that DoD’s findings are not based on substantial evidence. But as

Defendants demonstrate below, DoD considered (unpersuasive) contrary evidence and a wide

range of probative evidence from a variety of sources to support its underlying factual

determinations that placed Hesai on the Section 1260H List.

       Second, Plaintiffs contend that DoD exceeded its statutory authorities. They fault DoD for

not applying an articulable standard in reaching its conclusions, arguing that something more than

DoD’s use of the plain meaning of the statutory terms in Section 1260H is required. But as always,

where the text of a statute is clear, no further interpretation is necessary. DoD is not required to

fashion a more complicated standard. DoD permissibly applied the plain meaning of the language

Congress used to determine that Hesai is a “Chinese military company.”

       Third, Plaintiffs ask the Court to declare a constitutional due process violation despite

having suffered no injury to any protected liberty or property interest. Their claim of a future injury

to a future liberty interest based on a future prohibition is unripe for review. To the extent they

have endured any reputational harm, that harm is insufficient to state a due process claim.

       For these reasons, the Court should deny Plaintiffs’ Motion for Summary Judgment and

grant Defendants’ Cross-Motion for Summary Judgment.

                                    STATEMENT OF FACTS

I.     The United States’ Concerns About Chinese Military-Civil Integration

       The United States Government has long expressed significant concerns about the national

security threat posed by the relationship between Chinese technology companies and the Chinese

state. In the National Defense Authorization Act (“NDAA”) for Fiscal Year 1999, Congress

directed the President to create a list identifying entities that meet the statutory definition of a


                                                  2
       Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 6 of 54




Communist Chinese Military Company (“CCMC”). See National Defense Authorization Act for

Fiscal Year 1999 (“FY99 NDAA”), § 1237(a), (b), 112 Stat. 2160 (Oct. 17, 1998). In 2005,

Congress expanded the definition of a CCMC because the then-existing definition, which

depended on a company’s relationship to the Chinese People’s Liberation Army, was too narrow—

it “exclud[ed] a class of firms engaged in Chinese military modernization.” H.R. Rep. No. 108-

491 at 367 (2004).

       These concerns have persisted up to the present day. In its 2011 Annual Report to Congress,

the Department of Defense observed that “China’s defense industry has benefited from integration

with a rapidly expanding civilian economy and science and technology sector, particularly

elements that have access to foreign technologies.” Off. of the Sec’y of Def., Ann. Rep. to Cong.:

Mil. & Sec. Devs. Involving the PRC, at 42 (2011) (“2011 DoD Ann. Rep.”). 1 “Information

technology companies in particular . . . maintain close ties to the [People’s Liberation Army].” Id.

A decade later, DoD again noted that China’s strategy seeks to “fuse[] . . . China’s defense

industrial base and its civilian technology and industrial base.” Off. of the Sec’y of Def., Ann. Rep.

to Cong.: Mil. and Sec. Devs. Involving the PRC, at 18 (2020) (“2020 DoD Ann. Rep.”). 2 The

U.S.-China Economic and Security Review Commission (“U.S.-China Commission”) 3 has

articulated similar concerns, noting that “[t]he Chinese government’s military–civil fusion policy




1
  Dep’t of Def., Office of the Sec’y of Def., Military and Security Developments Involving the
People’s Republic of China, 2011,
https://dod.defense.gov/Portals/1/Documents/pubs/2011_CMPR_Final.pdf.
2
  Dep’t of Def., Office of the Sec’y, of Def., Military and Security Developments Involving the
people’s Republic of China, 2020, https://media.defense.gov/2020/Sep/01/2002488689/-1/-
1/1/2020-DOD-CHINAMILITARY-POWER-REPORT-FINAL.PDF.
3
  The U.S.-China Commission, established by statute in the NDAA for FY 2001, Pub. L. No. 106-
398, 114 Stat. 1654 (2000), is intended “to monitor, investigate, and report to Congress on the
national security implications of the bilateral trade and economic relationship between the United
States and the People’s Republic of China [PRC],” 22 U.S.C. § 7002(b)(2).
                                                   3
       Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 7 of 54




aims to spur innovation and economic growth through an array of policies . . . while leveraging

the fruits of civilian innovation for China’s defense sector.” See U.S.-China Econ. & Sec. Rev.

Comm’n, 2018 Ann. Rep., Ch. 3 § 2 – Emerging Technologies and Military-Civil Fusion: Artificial

Intelligence, New Materials, and New Energy (“U.S. China Comm’n 2018 Rep.”). 4

II.    The Hesai Group

       Plaintiffs are part of the Hesai Group, “a NASDAQ-listed company with operations around

the world, including in the United States.” First Amend. Compl. (“FAC”) ¶ 2, ECF No. 41; see id.

¶ 21 (noting that Plaintiff Hesai Technology Col., Ltd. “is wholly owned by Hesai Hong Kong

Limited, which in turn is wholly owned by Hesai Group”); id. ¶ 22 (explaining that Plaintiff Hesai

Inc. is a “wholly owned subsidiary” of Plaintiff Hesai Technology Co., Ltd.). Plaintiffs allege that

the Hesai Group “is the world’s leading manufacturer of Light Detection and Ranging (‘LiDAR’)

technology for commercial—primarily automotive—uses.” Id. ¶ 2. LiDAR “is a method for

determining the distance of an object or surface via lasers,” id. ¶ 29, that creates “a real-time,

highly accurate 3D representation of physical surroundings, enabling autonomous systems to

navigate complex environments in a wide variety of driving conditions.” Id. ¶ 2. Through its

military-civil fusion efforts, China has sought to support LiDAR innovation, as allowing

autonomous systems to track, map, understand, and navigate complex environments “has value to




4
 USCC, Section 2: Emerging Technologies and Military-Civil Fusion: Artificial Intelligence, New
Materials,    and        New      Energy,      https://www.uscc.gov/sites/default/files/2019-
11/Chapter%203%20Section%202%20-
%20Emerging%20Technologies%20and%20Military-Civil%20Fusion%20-
%20Artificial%20Intelligence,%20New%20Materials,%20and%20New%20Energy.pdf.
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       Case 1:24-cv-01381-PLF              Document 47       Filed 01/08/25     Page 8 of 54




not just associated car manufacturers, but also the [People’s Liberation Army (PLA)].” See Re-

Certified New Admin. Rec. (“NDAR”) 1715.

III.   The William M. (“Mac”) Thornberry National Defense Authorization Act for Fiscal
       Year 2021 (Public Law 116-283)
       The FY 2021 NDAA provides for the identification of “each entity the Secretary [of

Defense] determines, based on the most recent information available, is operating directly or

indirectly in the United States . . . that is a Chinese military company.” (Public Law 116-283), §

1260H(a), 134 Stat. 3388 (2021). A “Chinese military company” includes those entities “identified

as a military-civil fusion contributor to the Chinese defense industrial base . . . engaged in

providing       commercial     services,    manufacturing,     producing,     or    exporting.”     Id.

§ 1260H(d)(1)(B)(II). In turn, Congress defined “military-civil fusion contributor” to include (as

relevant here):

            •     “[e]ntities knowingly receiving assistance from the Government of China or the
                  Chinese Communist Party through science and technology efforts initiated under
                  the Chinese military industrial planning apparatus,” id. § 1260H(d)(2)(A);

            •     “[e]ntities affiliated with the Chinese Ministry of Industry and Information
                  Technology, including research partnerships and projects,” id. § 1260H(d)(2)(B);

            •     “[e]ntities residing in or affiliated with a military-civil fusion enterprise zone or
                  receiving assistance from the Government of China through such enterprise zone,”
                  id. § 1260H(d)(2)(E); and

            •     “[e]ntities that advertise on national, provincial, and non-governmental military
                  equipment procurement platforms in the People’s Republic of China.” Id.
                  § 1260H(d)(2)(G).

IV.    DoD’s Placement of Hesai on the Section 1260H List

       On January 18, 2024, the Deputy Secretary of Defense notified Congress that DoD had

identified Hesai on the Section 1260H List for 2023. In the accompanying press release, DoD

explained that “[u]pdating the Section 1260H list of ‘Chinese military companies’ is an important

continuing effort in highlighting and countering the PRC’s Military-Civil Fusion strategy. The
                                               5
       Case 1:24-cv-01381-PLF          Document 47          Filed 01/08/25    Page 9 of 54




PRC’s Military-Civil Fusion strategy supports the modernization goals of the People’s Liberation

Army (PLA)[.]” 5 On October 29, 2024, DoD delisted Hesai from the Section 1260H List. See

NDAR 5. That same day, DoD re-listed Hesai on the Section 1260H List, based on a new analysis

and report. NDAR 3-5.

       DoD’s internal report setting out the bases for listing the company (“Hesai Group report”),

dated September 17, 2024, provides additional details about the basis for Hesai’s placement on the

1260H List. NDAR 6-24. DoD explained in the report that Hesai functions as a military-civil

fusion contributor to the Chinese defense industrial base, see NDAR 10 (citing §

1260H(d)(1)(B)(i)(II)), for four independent reasons: (1) it “knowingly receives assistance from

the Government of China . . . through science and technology efforts initiated under the Chinese

military industrial planning apparatus,” see § 1260H(d)(2)(A); (2) it is “affiliated with the Chinese

Ministry of Industry and Information Technology [“MIIT”], including research partnerships and

projects,” see § 1260H(d)(2)(B); (3) it “resid[es] in or [is] affiliated with a military-civil fusion

enterprise zone,” see § 1260H(d)(2)(E) and (4) it “advertise[s] on a nongovernmental military

equipment procurement platform,” § 1260H(d)(2)(G). See NDAR 11-17. As described in more

depth below, the Hesai Group report outlined the factual bases for each of these statutory

authorities to place Hesai on the Section 1260H List. Id.

V.     The Present Litigation

       On May 13, 2024, Plaintiffs initiated this lawsuit, challenging DoD’s determination that

Hesai is a Chinese military company under Section 1260H. See ECF No. 1. The Court adopted the




5
 U.S. Dep’t of Def., Release, DOD Releases List of People’s Republic of China (PRC) Military
Companies in Accordance with Section 1260H of the National Defense Authorization Act for
Fiscal Year 2021, Jan. 31, 2024, https://www.defense.gov/News/Releases/Release/Article/
3661985/dod-releases-list-of-peoplesrepublic-of-china-prc-military-companies-in-accord/.
                                               6
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 10 of 54




parties’ joint summary judgment briefing schedule. See ECF No. 13. Before the Court held a

hearing on the Parties’ cross-motions for summary judgment, the Court granted Defendants’

opposed motion to postpone oral argument to allow DoD to issue a new decision, rendering its

original Section 1260H listing inoperative. After this Court’s September 17, 2024 grant of

Defendants’ motion, DoD on October 16, 2024, de-listed and immediately re-listed Hesai as a

Chinese military company based on a modified record and expanded rationale.

       The Court reset the briefing schedule to allow Plaintiffs to amend their complaint and set

new merits briefing deadlines. See Scheduling Order, ECF No. 38. Defendants filed a certified list

of the contents of the new administrative record and transmitted to Plaintiffs the new

administrative record on November 8, 2024. See ECF No. 40. On November 15, 2024, Plaintiffs

filed their First Amended Complaint, see ECF No. 41, and on December 9, 2024, Plaintiffs filed

their Motion for Summary Judgment, see ECF No. 42 (“Hesai MSJ”). On January 6, 2025,

Defendants filed a re-certified list of the contents of the administrative record and submitted to

Plaintiffs a revised administrative record. 6 See Re-Cert. of New Admin. Record, ECF No. 45.

                                   STANDARD OF REVIEW

        Under the APA’s deferential arbitrary-and-capricious standard, an agency’s decision is

presumed valid, and a court reviews only whether that decision “was based on a consideration of

the relevant factors and whether there has been a clear error of judgment.” Citizens to Preserve

Overton Park v. Volpe, 401 U.S. 402, 416 (1971). An agency’s decision may be deemed arbitrary

and capricious only in circumstances where the agency “has relied on factors which Congress has



6
 As explained in ECF No. 45, DoD filed a re-certified list of the contents of the new administrative
record because it learned that an inadvertent administrative error occurred when assembling the
initial version of the administrative record. See ECF No. 45-2 (Amended Certification of the
Contents of the Administrative Record, Decl. of Peter Atherton).
                                                 7
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 11 of 54




not intended it to consider, entirely failed to consider an important aspect of the problem, offered

an explanation for its decision that runs counter to the evidence before the agency,” or its decision

“is so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). The Court may not “substitute its judgment for that of the agency”; the agency’s

decision should be affirmed as long as it is supported by a rational basis. Id.

       The APA’s substantial evidence standard erects a “low bar.” La. Pub. Serv. Comm’n v.

FERC, 20 F.4th 1, 7 (D.C. Cir. 2021). Substantial evidence “is such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.” Pham v. Nat’l Transp. Safety

Bd., 33 F.4th 576, 581 (D.C. Cir. 2022) (citation omitted). The standard “requires more than a

scintilla, but can be satisfied by something less than a preponderance of the evidence.” Bloomberg,

L.P. v. SEC, 45 F.4th 462, 475 (D.C. Cir. 2022) (citation omitted). The agency’s factual findings

“may be supported by substantial evidence even though a plausible alternative interpretation of the

evidence would support a contrary view.” Dillmon v. Nat’l Transp. Safety Bd., 588 F.3d 1085,

1089 (D.C. Cir. 2009) (citation omitted).

       This general deference under the APA is further heightened in cases such as this one that

involve national security and foreign affairs. See Islamic Am. Relief Agency v. Gonzales, 477 F.3d

728, 734 (D.C. Cir. 2007) (“[O]ur review—in an area at the intersection of national security,

foreign policy, and administrative law—is extremely deferential.”). When “litigation implicates

sensitive and weighty interests of national security and foreign affairs,” the Supreme Court has

instructed courts to grant this heightened deference even when considering constitutional claims.

See Holder v. Humanitarian Law Project, 561 U.S. 1, 33-34 (2010). A case, such as this, involving

DoD’s statutory obligation to identify Chinese military companies is no exception. See Luokung


                                                  8
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 12 of 54




Tech. Corp. v. Dep’t of Def., 538 F. Supp. 3d 174, 182 (D.D.C. 2021) (“Courts are to afford

heightened deference to an agency’s determination when it concerns national security, as is the

case here.” (citing Islamic Am. Relief Agency, 477 F.3d at 734)); Xiaomi v. Dep’t of Def., Case No.

21-0280, 2021 WL 950144, *4 (D.D.C. March 12, 2021) (same).

                                           ARGUMENT

I.     Substantial Evidence Supports DoD’s Conclusion that Hesai Is a “Military-Civil
       Fusion Contributor” to the Chinese Defense Industrial Base.

       DoD identified four statutory bases to place Hesai on the Section 1260H List as a military-

civil fusion contributor, each supported by substantial evidence in the record: Hesai (1) is

“affiliated with the Chinese Ministry of Industry and Information Technology [“MIIT”], including

research partnerships and projects,” see § 1260H(d)(2)(B); (2) “knowingly receives assistance

from the Government of China . . . through science and technology efforts initiated under the

Chinese military industrial planning apparatus,” see § 1260H(d)(2)(A); (3) “resid[es] in or [is]

affiliated with a military-civil fusion enterprise zone,” see § 1260H(d)(2)(E); and (4) “advertise[s]

on a nongovernmental military equipment procurement platform,” § 1260H(d)(2)(G). Each

rationale in the Hesai Group report appropriately defines the applicable standard according to its

plain meaning and provides substantial evidence that Hesai meets the standard. Any one of these

bases is sufficient to find that DoD properly included Hesai on the 1260H List, and viewed in their

totality, they paint a compelling portrait of Hesai as a military-civil fusion contributor.

       A.      Hesai is “Affiliated With” MIIT.

       DoD determined that Hesai is a military-civil fusion contributor to the Chinese defense

industrial base, as defined in Section 1260H, “because it is affiliated with the MIIT.” NDAR 13.

Contrary to Plaintiffs’ assertions, DoD both appropriately interpreted the phrase “affiliated with”

and supported its conclusion with substantial evidence.

                                                  9
       Case 1:24-cv-01381-PLF            Document 47       Filed 01/08/25      Page 13 of 54




                1.          The Plain Meaning of the Phrase “Affiliated With.”

        At the time of Hesai’s listing, Section 1260H did not define the phrase “affiliated with” in

subsection (d)(2)(B). 7 A broad definition of that term is warranted given that the term’s ordinary

definition refers to associations “on the basis of a common purpose or of shared characteristics.”

Affiliated, Oxford English Dictionary, affiliated (adj.); 8 see also Merriam-Webster, affiliated (adj.)

(“closely associated with another typically in a dependent or subordinate position”). 9 This broad,

context-dependent definition is supported by the only Supreme Court case that appears to have

grappled with the phrase “affiliated with,” albeit in a different context. Killian v. United States,

368 U.S. 231 (1961), recognized that “[t]he phrase[] ‘affiliated with,’ especially when applied to

the relationship between persons and organizations that conceal their connection, cannot be

defined in absolute terms.” Id. at 258. Rather, “the ultimate fact of affiliation, though subjective,

may be proved by evidence of objective facts and circumstances having a rational tendency to

show, and from which the [factfinder] may rationally and logically find, the ultimate fact of

affiliation.” Id. at 257.

        Section 1260H is a national security law designed to combat the practical threat posed by

the purposely murky relationship between some Chinese technology companies and Chinese

government ministries. As in Killian, this is a circumstance in which appropriate targets of the law



7
  Notably, the FY2025 NDAA, signed by the President on December 23, 2024, modifies the
statutory text of Section 1260H to include, among other things, a definition for the term “affiliated
with” (i.e., “in close formal or informal association”). Servicemember Quality of Life
Improvement and National Defense Authorization Act for Fiscal Year 2025, Pub. L. No. 118-159,
§ 1346, 138 Stat. 1773 (2024). Although this definition was not in place at the time DoD made the
decision to re-list Hesai, it demonstrates Congress’s intent that the term bears its plain meaning
and not the specialized meaning Plaintiffs ascribe to it.
8
  Affiliated, Oxford English Dictionary,
https://www.oed.com/dictionary/affiliated_adj?tab=meaning_and_use#9323083.
9
  Affiliated, Merriam-Webster Dictionary, https://www.merriam-
webster.com/dictionary/affiliated#learn-more.
                                                10
      Case 1:24-cv-01381-PLF            Document 47        Filed 01/08/25       Page 14 of 54




seek to hide their association. A logical understanding of the statute is that Congress intended to

include those companies for whom the total context of their operations, funding, and associations

(among other considerations) makes clear that they share a common purpose with the Chinese

state, a dependency, or a set of characteristics with MIIT. Plaintiffs might prefer a “mathematical

formula[],” but as Congress recognized in drafting this statute broadly, “such specificity is often

impossible.” Id. at 258.

       Defendants acknowledge that a different court in this district interpreted “affiliated with”—

in the context of a different statute, FY99 NDAA § 1237—to require “effective control.” See

Luokung Tech. Corp., 538 F. Supp. 3d at 183-88; Xiaomi, 2021 WL 950144, *5-7. However, a

prior decision by another member of this Court interpreting a different statute does not constitute

binding precedent. See Camreta v. Greene, 563 U.S. 692, 709, n.7 (2011) (“A decision of a federal

district court judge is not binding precedent in either a different judicial district, the same judicial

district, or even upon the same judge in a different case.”).

       Relying substantially on these non-binding precedents, Plaintiffs mistakenly argue that

Section 1260H’s use of the term “affiliated with” requires Hesai to be “effectively controlled” by

MIIT. Hesai MSJ at 24-29. “When a statute’s language is plain, [the court] ‘must enforce it

according to its terms.’” Bd. of Cnty. Comm’rs v. Fed. Hous. Fin. Agency, 754 F.3d 1025, 1028–

29 (D.C. Cir. 2014) (citation omitted). “Moreover, where a statute’s terms are undefined, [the

court’s] interpretation is guided by the terms’ ‘regular usage.’” Id. (citation omitted). Especially

here, where “Congress ‘was dealing with a practical subject in a practical way’” the Supreme Court

has instructed that courts should presume that Congress “intended the terms [in the statute] . . . to

be understood in ‘their ordinary and popular sense.’” Amoco Production Co. v. Southern Ute Tribe,

526 U.S. 865, 873 (1999) (citation omitted).


                                                  11
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 15 of 54




       Tellingly, Plaintiffs would have the Court ignore the definition of the operative term,

“affiliated with,” instead relying on dictionary definitions of “affiliate,” i.e., the noun form of the

word, not the adjectival phrase. See Hesai MSJ at 25 (citing Affiliate, Black’s Law Dictionary (12th

ed. 2024); Webster’s Third New Int’l Dictionary 35 (2002)). Plaintiffs similarly cite regulatory and

statutory definitions of “affiliate,” cobbled together from other sources. See id. (citing, inter alia,

32 C.F.R. §§ 117.3, 232.3(a); 12 U.S.C. § 5481 (Dodd-Frank Act); 21 U.S.C. § 379g (Federal

Food, Drug, and Cosmetic Act); 16 U.S.C. § 618 (Federal Timber Contract Payment Modification

Act); 47 U.S.C. § 153 (Telecommunications Act); 11 U.S.C. § 101(2)(A) (Bankruptcy Code)). And

they point to a few out-of-circuit cases similarly defining “affiliate” in the context of

telecommunications law. Id. (citing Mey v. DIRECTV, LLC, 971 F.3d 284, 289 (4th Cir. 2020)

(telecommunications contract dispute); Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 955

(9th Cir. 2009) (defining affiliate in the context of determining whether a company violated

telecommunications law) (citation omitted)). But none of Plaintiffs’ proffered definitions advance

Plaintiffs’ argument: those sources define the term-of-art “affiliate,” a term found nowhere in

Section 1260H. “Congress says what it means and means what it says[:]” here, Congress means

“affiliated with,” not affiliate. See Banks v. Booth, 3 F.4th 445, 449 (D.C. Cir. 2021).

       Moreover, the phrase “affiliated with” must be read in the greater context of the statutory

provision in which it resides. See Deal v. United States, 508 U.S. 129, 132 (1993) (a “fundamental

principle of statutory construction (and, indeed, of language itself) [is] that the meaning of a word

cannot be determined in isolation, but must be drawn from the context in which it is used”). Section

1260H provides that an entity can be “affiliated with” MIIT if it engages in “research partnerships

or projects” with the organization. § 1260H(d)(2)(B). The statute thus captures a broad swath of

entities that engage or partner with MIIT, a vastly wider reach than Plaintiffs’ narrow definition.


                                                  12
       Case 1:24-cv-01381-PLF            Document 47         Filed 01/08/25       Page 16 of 54




Id. Indeed, a student at a university cannot be said to be “effectively controlled” by an academic

institution where he is conducting dissertation research even though he or she is engaged in a

project at the university and thus “affiliated with” that university. It would be a mistake to import

a legal definition largely from telecommunications law into this national security statute aimed at

providing DoD the flexibility to identify Chinese companies whose associations with various

organs of the Chinese government make them a national security threat. Cf. TikTok Inc. v. Garland,

No. 24-1113, 2024 WL 4996719, at *14 (D.C. Cir. Dec. 6, 2024) (citations omitted)), cert. granted,

No. 24-656, 2024 WL 5148087 (U.S. Dec. 18, 2024) (recognizing that “even putatively private

companies based in China do not operate with independence from the government” and are often

used as “part of the [Chinese government’s] broader geopolitical and long-term strategy to

undermine U.S. national security.” (internal quotations and citations omitted)).

        Plaintiffs’ narrow definition would also render another provision within Section 1260H

illogical. See Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 575 (1982) (“[I]nterpretations of

a statute which would produce absurd results are to be avoided if alternative interpretations

consistent with the legislative purpose are available.”); see also Atl. Cleaners & Dyers, Inc. v.

United States, 286 U.S. 427, 433 (1932) (explaining that “identical words used in different parts

of the same act are intended to have the same meaning”). The statute defines “military-civil fusion

contributor,” inter alia, as “[e]ntities residing in or affiliated with a military-civil fusion enterprise

zone[.]” § 1260H(d)(2)(E). Adopting Plaintiffs’ definition of “affiliated with” would thus mean

that a “military-civil fusion contributor” under § 1260H(d)(2)(E) would encompass an entity that

is “effectively controlled” by a geographic location, i.e. an “enterprise zone.” But a piece of real

property cannot “effectively control” an entity. The more logical reading of this provision is that




                                                   13
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 17 of 54




an entity can be a “military-civil fusion contributor” by being associated with an enterprise zone

for the common purpose of advancing particular technologies.

       In addition, Congress incorporated the term “control” into the definition of Chinese

military company when it intended to do so, which it purposely did not do in subsection

1260H(d)(2)(B). See Ziglar v. Abbasi, 582 U.S. 120, 143-44 (2017) (observing that “the silence of

Congress is relevant” and that “[t]his silence is notable because it is likely that high-level policies

will attract the attention of Congress”). In a different Section 1260H provision, the statute defines

“Chinese military company” to include entities “directly or indirectly owned, controlled, or

beneficially owned by,” among others, “any other organization subordinate to the Central Military

Commission of the Chinese Communist Party[.]” § 1260H(d)(1)(B)(i)(I) (emphasis added). If

Congress had intended the definition of Chinese military company to encompass only an entity

that is “effectively controlled” by MIIT—i.e., Plaintiffs’ preferred “affiliated with” definition—it

would have simply said as much. Congress’s silence is notable here because it used the term

“controlled” in another Section 1260H provision in an overall statutory scheme involving “high

level policies” of national security significance. Ziglar, 582 U.S. at 144. In short, Congress has

expressly used the term “control” in contexts when it wanted to do so. This is not one of them.

       Finally, Plaintiffs mistakenly argue that interpreting Section 1260H in the manner proposed

by DoD violates the constitutional avoidance canon, as Defendants’ interpretation would “cover

virtually all Chinese (and many international) companies,” raising due process and non-delegation

“concerns.” Hesai MSJ at 28-29. These concerns are unfounded. DoD identified approximately

forty-five (45) companies in 2023 pursuant to the congressional mandate thrust on DoD, a tiny

fraction of companies incorporated in China. And for good reason—only those companies for




                                                  14
      Case 1:24-cv-01381-PLF            Document 47        Filed 01/08/25       Page 18 of 54




whom the Department’s analysis shows a close association with MIIT (among the other statutory

prerequisites) fall within subsection 1260H(d)(2)(B)’s reach.

               2.      Substantial Evidence Supports the Finding that Hesai is “Affiliated
                       With” MIIT.

       The administrative record contains sufficient evidence to support DoD’s factual

determination that Hesai is an entity “affiliated with the Chinese Ministry of Industry and

Information Technology, including research partnerships and projects.” § 1260H(d)(2)(B). Record

evidence shows that MIIT: (1) administers the “Little Giants” program of which Hesai is an

officially recognized company; (2) administers and supports several research programs and

projects in which Hesai participates; (3) established and oversees an industry partnership in which

Hesai participates; and (4) provided an administrative license to Hesai. NDAR 13-15.

       First, Hesai’s inclusion in the “Little Giants” program administered by MIIT, see NDAR

13, 1432, shows that it has a common purpose and shared characteristics with MIIT. The Little

Giants program is “a subsidy . . . a grant . . . an honor . . . a stamp of approval” that is “key to the

[Chinese] Communist Party’s ambitious strategy to reposition the country’s technology industry.”

NDAR 1429. The program “target[s] strategically important sectors like robotics, quantum

computing and semi-conductors.” NDAR 1428. Participation in the program “has become a valued

measure of government endorsement, a signal for investors and employees that the companies are

insulated from regulatory punishment.” NDAR 1429. It is a part of the Chinese government’s

effort to “ma[k]e clear that the technology industry must realign to conform with government

priorities.” NDAR 1429.

       Hesai’s argument that its inclusion in the “Little Giants” program in and of itself does not

justify the company’s inclusion on the 1260H List, see Hesai MSJ at 34, is immaterial. The fact

that MIIT included Hesai in this program is not a single factor to be considered in isolation but

                                                  15
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 19 of 54




one of several datapoints that, taken together, furnish substantial evidence to support DoD’s factual

determination that Hesai is affiliated with MIIT. It is also irrelevant, see id., that MIIT may have

included companies in the “Little Giants” program that lack a military or defense connection when

the commercial services that Hesai provides do have just such a connection. Plaintiffs’ attempt to

downplay the reward MIIT gave Hesai as part of the Little Giants program is unavailing, as is the

contention that private founders “retain control over their companies even if they participate” in

the program. Id. (citing NDAR 13, 41, 1431). The point, again, is not that Hesai is controlled by

MIIT, but that Hesai’s receipt of rewards from MIIT shows a common purpose.

       Second, Hesai participates in research programs and projects facilitated and supported by

MIIT. The record shows that Hesai partners with Tsinghua University—China’s leading science

and technology university and a significant Chinese security threat—on a National Key Research

and Development Program project. NDAR 13, 1440, 1503. As Hesai itself has promoted, it worked

with Tsinghua University on a project titled “Key Technologies and Applications of Intelligent

Vehicle Environmental Perception,” see id. at 1442, which is supported by MIIT’s 13th Five-Year

Plan Special Project, NDAR. at 1451. Hesai even won Chinese government awards for that

research project and partnership. NDAR 14, 1438-1453. Nor is this the only MIIT-supported

research project and partnership Hesai undertook. It also performed in-depth testing at the

Shanghai Jiading Intelligent Connected Vehicle Demonstration Zone and achieved important

results in improving the accuracy of laser radar scanning. NDAR 14. That research project took

place in an MIIT-promoted, supported, and approved facility. NDAR 14; see also NDAR 1525-

1555. And in Hesai’s own prospectus of its Shanghai Stock Exchange public offering, NDAR 826-

1085 (English translation), Hesai identified four programs and projects in which it participates that

MIIT administers:


                                                 16
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 20 of 54




       •   The Internet of Vehicles (Intelligent Connected Vehicles) Industry Development Action
           Plan (“IoV Plan”)

       •   The Medium- and Long-Term Development Plan for the Automobile Industry
           (“Automobile Industry Plan”)

       •   The Three-Year Action Guide for the Smart Sensor Industry (“Smart Sensor Guide”)

       •   The Action Plan to Accelerate the Development of Sensors and Intelligent Instruments
           (“Sensors and Intelligent Instruments Plan”)

See NDAR 14-15; 983. Hesai is thus affiliated with MIIT through research projects and

partnerships—exactly the sort of connection that the statute contemplates.

       Moreover, given that one of the key purposes of a company’s prospectus is to inform

potential investors considering purchasing its stock offerings, it is reasonable to understand Hesai’s

discussion of these programs in its prospectus as highlighting its close relationship with the

Chinese government. Potential benefits to Hesai of this close relationship include lucrative

incentives such as tax cuts, loans, and direct funding. NDAR 1429 (designation in “Little Giants”

program typically includes incentives such as “tax cuts, generous loans and favorable talent

acquisition policies”), NDAR 1430 (priority “Little Giants” participants receive direct government

funding). A reasonable factfinder could determine that the availability of such incentives provides

further evidence that Hesai would gain from being affiliated with MIIT.

       Plaintiffs misread the statute to argue that these research projects and partnerships are

insufficient to show that Hesai is affiliated with MIIT. They claim that the statute “requires

evidence of ‘research partnerships and projects with MIIT,’” apparently adding a requirement that

MIIT be more intimately involved in the research partnerships and projects. Hesai MSJ at 29

(citing NDAR 13) (emphasis in original). That is not what the statute requires. The statute defines

the research partnerships and projects that qualify broadly, and the Department reasonably



                                                 17
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 21 of 54




concluded that research partnerships and projects supported, funded, approved, or facilitated by

MIIT are sufficient to form yet another datapoint demonstrating that Hesai is affiliated with MIIT.

       Third, record evidence shows that MIIT has established and oversees an industry

partnership—the National Automotive Standardization Committee (“Committee”)—that is

intended to promote standardization in China’s automotive industry, see NDAR 1586-99, and that

Hesai acts as a part of this partnership, NDAR 1608. See also NDAR 14, 1573. Hesai’s affiliation

with this partnership is demonstrated by the company’s (1) status as one of the main drafting

entities of an automotive standard under the jurisdiction of the MIIT Committee, NDAR 1582-84,

1608, and (2) participation in a conference organized by the Committee, NDAR at 1586-99.

       The record shows that the Committee was “organized and guided by” MIIT, id. at 1573,

that the Committee exercises jurisdiction over the national standard plan entitled “Performance

Requirements and Test Methods for Automotive LiDAR,” NDAR 1608, and that Hesai’s

subsidiary is listed first among the “main drafting units” of this national standard plan, id. It also

demonstrates that Zhao Xin, the director of the Safety and Quality Engineering Department of

Hesai’s subsidiary, participated in the Sixth International Exchange Conference on Intelligent

Connected Vehicle Technology, Standards and Regulations, which was “jointly organized” by the

MIIT Committee and another entity. NDAR 1591, 1598. Taken together with the other evidence

marshalled by DoD, as the main drafter of a national standard plan under the Committee’s

jurisdiction, and a participant in a conference co-organized by the Committee, Hesai is closely

associated with MIIT in a subordinate position and shares a common purpose with MIIT.

       Hesai’s attempts to minimize the weight of this evidence are not persuasive. See Hesai MSJ

at 31-32. Record evidence shows that the MIIT Committee’s “professional scope” includes the

responsibility for “national terminology, product classification, technical requirements, and testing


                                                 18
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 22 of 54




of trucks, off-road vehicles, dump trucks, tractor-trailers, special-purpose vehicles, passenger cars,

cars and trains (including semitrailers and full trailers), motorcycles and electric vehicles.” NDAR

1573. The Committee is thus both a qualifying “research partnership” and a “project” of the MIIT.

§ 1260H(d)(2)(B). Nor is it relevant that the record evidence does not list any specific Hesai

executive, employee, or board member as a Committee member. The statute does not require such

membership. Contrary to Hesai’s representation, the record pages it cites, see Hesai MSJ at 43, do

not show that Hesai merely recommended draft standards from the broader automotive industry;

rather, they show that Hesai was foremost among the actual “main drafting units” of MIIT’s

national standard plan. See NDAR 1608.

       Plaintiffs also devote considerable time to observing that other entities whose

representatives participated in the conference that was co-organized by the Committee were not

included on the 1260H list, and that other organizations also listed as drafters of the Committee’s

plan were not included on the 1260H list. Hesai MSJ at 31-32. But these observations are largely

beside the point. DoD’s factual determination that Hesai is affiliated with the Committee is not

based on this single piece of evidence, taken in isolation. So too, because DoD is not relying solely

on Hesai’s involvement as one of the main drafters of an MIIT plan as evidence of its affiliation

with MIIT, it is immaterial that other organizations also listed as drafters of that plan—or that other

organizations that have participated in the drafting of similar plans—were not included on the

1260H list. Rather, it is the combined weight of the totality of the record evidence, rather than any

single item, that supports DoD’s factual determination. Moreover, Hesai has not explained why

the other entities that it lists as having participated in the conference are similarly situated with

respect to all of the other factors that supported DoD’s factual determination.




                                                  19
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 23 of 54




       Fourth, Hesai’s application for and receipt of a Radio Transmitting Equipment Model

Approval administrative license from MIIT, see NDAR 14, constitutes further evidence that Hesai

is closely associated with MIIT in a dependent or subordinate position. A reasonable finder of fact

who considered this evidence—not alone, but in conjunction with the other record evidence cited

by DoD—could reasonably conclude that Hesai is affiliated with MIIT.

       Hesai’s attempts to downplay the weight of this additional evidence are unpersuasive.

Hesai MSJ at 33. As an initial matter, Hesai is wrong that Congress, by explicitly identifying

entities that received “military production licenses” as “military-civil fusion contributors,” must

necessarily have intended to exclude as military-civil fusion contributors other entities that

received different types of licenses. The expressio unius canon applies only when “circumstances

support a sensible inference that the term left out must have been meant to be excluded.” NLRB v.

SW Gen., Inc., 580 U.S. 288, 302 (2017) (citation omitted). No such inference is sensible here.

Section 1260H identifies by name only one type of license (a military production license) issued

by only one named entity (the Government of China). See § 1260H(d)(2)(F). But the statute

otherwise defines the term “military-civil fusion contributor” broadly, and it is not reasonable to

infer that Congress intended to exclude receiving other types of licenses, for instance as

constituting an “affiliat[ion] with” an arm of the Chinese state. “In any event, an equally pertinent

canon of interpretation states that a congressional decision to prohibit certain activities does not

imply an intent to disable the relevant administrative body from taking similar action with respect

to activities that pose a similar danger.” Tex. Rural Legal Aid, Inc. v. Legal Servs. Corp., 940 F.2d

685, 694 (D.C. Cir. 1991).

       Furthermore, the fact that the license MIIT issued to Hesai was for the approval of “gas

sensor products,” Hesai MSJ at 33 (citing ECF No. 17 at 38), does not diminish the weight that


                                                 20
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 24 of 54




should be afforded to that license’s issuance. Because Hesai “specializes in manufacturing LiDAR

sensor products for automobiles,” NDAR 17, the license approved products that serve as the core

of the commercial services that Hesai provides and that could be used to contribute to the Chinese

defense industrial base.

       Put simply, DoD’s argument is not that “any relationship whatsoever with the MIIT . . .

can satisfy Section 1260H(d)(2)(B),” Hesai MSJ at 27; rather, it is that a series of MIIT-driven

subsidies, tax cuts, grants, rewards, recognitions, research partnerships, certifications, and projects

objectively demonstrate a sufficiently common purpose between Hesai and MIIT to establish that

Hesai is affiliated with MIIT. The record evidence compiled by DoD, taken as a whole, more than

suffices to allow a reasonable factfinder to conclude that Hesai is affiliated with MIIT. Especially

in light of the “low bar” of the substantial-evidence standard, La. Pub. Serv. Comm’n, 20 F.4th at

7, the record contains sufficient evidence to support Hesai’s inclusion on the 1260H List.

       B.      DoD Reasonably Determined That Hesai Knowingly Received Science and
               Technology-Related Assistance from the Government of China.

       Congress requires DoD to place on the Section 1260H List entities that are “identified as a

military-civil fusion contributor to the Chinese defense industrial base,” which includes “[e]ntities

knowingly receiving assistance from the Government of China or the Chinese Communist Party

through science and technology efforts initiated under the Chinese military industrial planning

apparatus.” § 1260H(d)(1)(B)(II), (d)(2)(A). DoD has determined that Hesai knowingly received

science and technology-related assistance from the Government of China, and that this assistance

was initiated under China’s military industrial planning apparatus. NDAR 11-13. Accordingly,

this determination falls within the Department’s statutory authority, and as shown below, it is

supported by substantial evidence.



                                                  21
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 25 of 54




       Initially, Plaintiffs are mistaken in their contention that in addition to requiring that an

entity “knowingly receiv[ed] assistance from the Government of China or the Chinese Communist

Party through science and technology efforts,” Congress also required DoD to show that an entity

knew that such assistance was initiated under the Chinese military industrial planning apparatus.

Hesai MSJ at 35. Plaintiffs’ sole purported support for this contention, Rehaif v. United States, 588

U.S. 225 (2019), is specifically limited to the criminal context and inapplicable here. See id. at

229, 230 (explaining that because of the interpretive “presumption in favor of scienter” in criminal

statutes, as “‘a matter of ordinary English grammar,’ [courts] normally read the statutory term

‘knowingly’ as applying to all the subsequently listed elements of the crime”) (citation omitted).

Section 1260H is not a criminal statute and this interpretive presumption does not govern. Instead,

§ 1260H(d)(2)(A) is a “complex sentence in which it is important to determine from the sentence

itself whether the adverb denoting the actor’s intent applies to every characteristic of the sentence’s

direct object.” Flores-Figueroa v. United States, 556 U.S. 646, 659 (2009) (Alito, J., concurring).

“Context is a primary determinant of meaning,” Scalia & Garner, Reading Law 167 (2012), and

here, context strongly suggests that Congress focused on whether an entity knew what it had

received (science and technology-related assistance) and from whom (the Chinese government or

the Chinese Communist Party). Because it is of no moment whether such an entity is aware or not

whether the assistance it received had been initiated under China’s military industrial planning

apparatus, it makes little sense to believe Congress worried about the degree of such knowledge.

       And because Congress chose not to define the statutory term “initiated under the Chinese

military industrial planning apparatus,” the text bears its plain meaning. “Planning” is “the act or

process of making or carrying out plans[;] specifically: the establishment of goals, policies, and

procedures for a social or economic unit.” Planning, Merriam-Webster’s Collegiate Dictionary,


                                                  22
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 26 of 54




merriam-webster.com/planning. “Apparatus” means “[t]he totality of means by which a designated

function is performed or a specific task executed, as in a system of government.” Apparatus, Am.

Heritage Dictionary (5th ed. 2020) (definition 2.a). Thus, in Section 1260H, assistance that is

“initiated under the Chinese military industrial planning apparatus” means that it has been provided

in accordance with the totality of means by which China carries out its goals, policies, and

procedures for the use of manufactured products that help support its military establishment.

       And the Department has connected the relevant facts it has found to its determination that

Hesai knowingly received science and technology-related assistance from the Government of

China, and that this assistance was initiated under China’s military industrial planning apparatus.

Contra Hesai MSJ at 36-39. DoD has identified three grounds for its determination.

       First, Hesai received approximately RMB 17 million 10 in subsidies from Chinese

government entities. NDAR 11, 736 (certified translation at ECF No. 42-1 at 39). The entities

providing these subsidies include the Shanghai Municipal Commission of Commerce, Jiading

Industrial Zone Science and Technology Committee, Jiading Industrial Zone Management

Committee, and the Shanghai Municipal Commission of Commerce. NDAR 11, 736. Other

Chinese government subsidies include an Intellectual Property Patent Subsidy, Little Giant

Program Award, and a Smart City Special Subsidy. NDAR 11, 736. As explained below, see infra

II.B, the Chinese government is engaged in efforts to reduce U.S. dominance in the development

of LiDAR technology through the provision of generous state subsidies. Because “any progress




10
   Regrettably, the Hesai Group report contains a clerical error, listing the Chinese government
subsidies as RMB 77 million, rather than 17 million. Compare NDAR 11 with NDAR 736
(certified translation at ECF No. 42-1 at 39). This clerical error does not change the basic fact that
Hesai was receiving millions of renminbi (or dollars) of science and technology-related assistance
initiated under the Chinese military planning apparatus. There is no minimum amount set out in
Section 1260H.
                                                 23
      Case 1:24-cv-01381-PLF         Document 47       Filed 01/08/25      Page 27 of 54




towards autonomous capabilities inherently has military applications,” under China’s policy of

military-civil fusion, advancing the development of LiDAR technology in the private sector has

the goal of developing fully realized autonomous vehicles, with “massive applications for the

intelligent systems at the center of . . . Chinese military plans.” NDAR 1714. DoD has thus shown

that these government subsidies represent science and technology-related assistance from the

Government of China initiated under China’s military industrial planning apparatus.

       Second, Hesai has also received science and technology-related assistance from China’s

National Development and Reform Committee (“NDR Committee”) and from its Ministry of

Science and Technology. See NDAR 11-12, 20, 1051. From November 2017 to June 2020, the

Committee served as a “project-level management unit” assisting Hesai with the development of

LiDAR technology: specifically, it sponsored the production of low-cost LiDAR based on a high-

speed signal processing module. NDAR 1051. This NDR Committee-sponsored project yielded

significant research and development results (including the development of a high-performance

laser radar system, a multi-channel ASIC chip, 11 a multi-channel laser driver chip, and a laser

radar-dedicated algorithm module). NDAR 1051. Similarly, from May 2018 to February 2021, the

Ministry of Science and Technology served as a project-level management unit assisting Hesai

with the development of LiDAR technology, sponsoring the development of mechanical rotating

and solid-state multi-line LiDAR for use in autonomous vehicles. NDAR 1051.

       The NDR Committee and the Ministry both serve as part of China’s military industrial

planning apparatus. The NDR Committee’s 2020 Intelligent Vehicle Innovation and Development



11
   ASICs (Application-Specific Integrated Circuits) are computer chips that combine several
different circuits on a single chip, allowing the chip to be custom programmed to combine several
related functions to execute an overall task. See BAE Systems, What Are ASICS?,
https://www.baesystems.com/en-us/definition/what-are-asics#:~:text=ASICs%20(Application%
2DSpecific% 20Integrated%20Circuits,out%20a%20specific%20overall%20task
                                                  24
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 28 of 54




Strategy seeks the development of autonomous vehicle systems to strengthen China’s national

defense, and the collaboration of China’s military and civilian sectors to tackle key problems. See

NDAR 1100 (announcing goals of “carry[ing] out joint military and civilian research and

accelerat[ing] the development of Beidou satellite navigation,” 12 promoting the “[t]ransformation

and application of military technologies with independent intellectual property rights, such as

inertial navigation systems, to strengthen autonomous driving,” and “[b]uild[ing] an advanced and

complete smart car infrastructure system”). A 2024 report explained that the NDR Committee

plans to “formulate policies and measures for advancing high-quality development of defense

mobilization,” including “improv[ing] the system and layout of defense-related science,

technology, and industry,” “actively support[ing] defense and military modernization” and

“enhanc[ing] military-civilian coordination on major infrastructure construction.” NDAR 1174.

       The Ministry is also a key player in China’s military industrial planning apparatus,

promoting integration of China’s military and civil sectors with respect to scientific and technical

research. NDAR 1182. According to its website, the Ministry endeavors to “promote military-

civilian integration,” “takes the lead in establishing a unified national platform for S&T [science

and technology] management and a mechanism for fund allocation, evaluation and supervision of

research projects,” “put[s] forward policy recommendations for optimizing the allocation of S&T

resources,” “coordinate[s], manage[s] and oversee[s] the implementation of S&T systems (projects

and funds) financed by [China’s] central government,” “organizes and coordinates national

projects on basic research and application-oriented basic research,” “formulates plans for major




12
  China’s BeiDou Navigation Satellite System is a global navigation satellite system built to rival
the U.S. Global Positioning System (“GPS”). Andrew Jones, China Launches New Beidou
Satellites, Rocket Booster Lands Near House, Space News (Dec. 26, 2023),
https://spacenews.com/china-launches-new-beidou-satellites-rocket-booster-lands-near-house/
                                             25
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 29 of 54




national S&T projects and oversees their implementation,” and “coordinates the [research and

development] and innovation of key generic technologies [and] cutting-edge frontier

technologies,” and “takes the lead in formulating plans [and] policies . . . for the [research and

development] and industrial application of high and new technologies.” NDAR 1184-85.

       The NDR Committee’s and the Ministry’s assistance to Hesai in the form of sponsoring

the development of LiDAR technology represents science and technology-related assistance from

the Government of China initiated under China’s military industrial planning apparatus.

       Third, Hesai disclosed on a 2023 Securities and Exchange Commission form that “the PRC

government has significant authority in regulating our operations and may influence or intervene

in our operations at any time.” NDAR 1188. The Department cited this disclosure to show that

there is a substantial likelihood that the Chinese government will again provide science and

technology assistance to Hesai. Although Plaintiffs attempt to minimize the weight of this

evidence, see Hesai MSJ at 38-39, their arguments miss the mark because DoD is not citing this

2023 disclosure in isolation but as part of a pattern. The Government of China has already provided

science and technology related assistance to Hesai, and it retains the right to do so in the future.

Accordingly, Plaintiffs’ attempt to downplay China’s recent sponsorship of Hesai’s development

of LiDAR technology, Hesai MSJ at 37, has no merit. Moreover, DoD’s placement of this 2023

disclosure within a broader context distinguishes the present case from Luokung Tech. Corp.,

which, in interpreting a different statute, explained that it is not sufficient to assert in conclusory

fashion that the business might be “potential[ly] affiliat[ed]” with a particular Chinese

governmental entity (the PRC National Police) to demonstrate actual affiliation with that entity.

538 F. Supp. 3d at 189.




                                                  26
      Case 1:24-cv-01381-PLF            Document 47         Filed 01/08/25       Page 30 of 54




        C.      DoD Acted Within Its Authority in Designating Hesai as “Residing in or
                Affiliated With a Military-Civil Fusion Enterprise Zone.”

        Congress requires DoD to place on the Section 1260H List entities “residing in or affiliated

with a military-civil fusion enterprise zone or receiving assistance from the Government of China

through such” a zone. §1260H(d)(2)(E). The Department’s determination that Hesai constitutes

such an entity falls within DoD’s statutory authority and is supported by substantial evidence.

        Because Congress did not define the term “military-civil fusion enterprise zone,” its terms

bear their plain meaning. “Enterprise” means a “unit of economic organization or activity[,]

especially: a business organization.” Enterprise, Merriam-Webster’s Collegiate Dictionary

https://www.merriam-webster.com/dictionary/enterprise (definition 2.a). And a “zone” is a

“section of an area or territory established for a specific purpose, as a section of a city restricted to

a particular type of building, enterprise, or activity.” Zone, Am. Heritage Dictionary (5th ed. 2020)

(definition 2). Hence, a “military-civil fusion enterprise zone” is a section of territory established

by the Chinese government for the purpose of advancing its policy of military-civil fusion through

economic activity.

        The Chongqing Economic Development Zone plainly qualifies as a “military-civil fusion

enterprise zone” because it has been established by China to advance military-civil fusion through

scientific and technological innovation in industry. In 2022, the Na’an District Science and

Technology Bureau stated that under the Chinese Communist Party’s Fourteenth Five-Year Plan,

the city of Chongqing was to “accelerate the construction of a nationally influential scientific and

technological innovation center.” NDAR 1623. The Bureau explained that the Na’an District and

Chongqing Economic Development Zone have “always adhered to the innovation-driven

development strategy, emphasizing that the innovation chain guides the industrial chain and the

industrial chain promotes the development of the innovation chain.” NDAR 1623. The Five-Year

                                                   27
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 31 of 54




Plan envisions that by 2025, “technological innovation will be effectively promoted to lead the

economic and social development of the whole district.” NDAR 1624. Among other steps, the Plan

“has implemented” a “science and technology enterprise growth project” and has “cultivated a

group of innovating leading enterprises.” NDAR 1625. The primary “key task” of the Plan for the

zone is to “promote the research of key core technologies for industrial development.” NDAR

1626. Another “key task” is to “deepen open cooperation in scientific and technological

innovation” by, inter alia, “promot[ing] scientific and technological military-civilian integration

innovation.” NDAR 1627 (emphasis added). The Plan also makes clear that to promote the zone’s

scientific and technological development, it will be necessary “to strengthen monitoring and

evaluation,” which will include “regularly monitor[ing] the progress of the Chongqing Economic

and Technology Development Zone.” NDAR 1628.

       The Jiading Industrial Zone similarly qualifies as a “military-civil fusion enterprise zone.”

China created the zone to further the integration of its military and civil sectors through scientific

and technological innovation in industry. The Jiading Industrial Zone Civil-Military Integration

Industry Alliance was established in 2019. NDAR 1650. Under its auspices, a newly-established

industrial park in Jiading Industrial Zone was “committed to opening up the military-civilian

integration industry channel.” NDAR 1650. “The establishment of the military-civilian integration

industry alliance in the Jiading Industrial Zone” is “a specific measure to connect with the national

strategy of military-civil integration.” NDAR 1650. Within Jiading District, “the military industry”

has “a number of major core technologies in major national science and technology projects.”

NDAR 1650. Jiading Industrial Park was specifically designated to “take the establishment of” the

civil-military integration industrial alliance “as an opportunity to help enterprises in the park carry

out exchanges and cooperation in the field of military-civilian integration.” NDAR 1651.


                                                  28
      Case 1:24-cv-01381-PLF            Document 47        Filed 01/08/25       Page 32 of 54




       DoD’s determination that Hesai “resides in or is affiliated with” these zones, NDAR 15-

16, is supported by substantial evidence. Hesai has agreed to build its Technology Software Global

R&D Headquarters, set up an “innovation incubation center,” and create a LiDAR “industrial

park” in the Chonqing Economic Development Zone. NDAR 1614; see also Lei Kang, LiDAR-

Maker Hesai to Set Up Software R&D Headquarters in Chongqing, CnEVPost (Mar. 27, 2023)

(same). 13 And Hesai has also built the Hesai Maxwell Intelligent Manufacturing Center, covering

an area of 40 acres, in Jiading Industrial Zone. NDAR 1630. Among the functions with which the

center is tasked are research, production, and vehicle standard testing of LiDAR technology.

NDAR 1642. The Center maintains the world’s leading LiDAR research and development and

intelligent manufacturing technology, and combined with Hesai’s self-built automated LiDAR

production factory, its operations “can ensure” that LiDAR “can achieve large-scale mass

production while maintaining a high level of quality.” NDAR 1645.

       Plaintiffs thus err in arguing that the Department has not acted within the scope of Section

1260H in determining that Hesai is “resid[ing] in or affiliated with a military-civil fusion enterprise

zone,” and that its determination is not grounded in substantial evidence. Hesai MSJ at 39-41. As

an initial matter, it is immaterial that these zones might be larger in area than Arlington County,

Virginia, see Hesai MSJ at 39, because the size of a military-civil fusion zone is entirely within

China’s control, and Congress made no attempt to foresee how large or small such zones might

be. Plaintiffs also cite no authority to support their contention that Section 1260H requires DoD to

create “an established list” of military-civil fusion enterprise zones. Id. at 39.




13
   Available at https://cnevpost.com/2023/03/27/hesai-to-set-up-software-rd-headquarters-in-
chongqing/. The version of this article at NDAR 1616-21 inadvertently omits relevant text.
                                               29
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25     Page 33 of 54




       Further, it is reasonable for DoD not to determine that other entities (such as Amazon and

Volvo) have a “presence” in these zones, id. at 40, because the national security risk associated

with a company that is not developing, producing, or supplying military or dual-use products does

not rise to the level of a company (such as Hesai) that produces dual-use products. DoD’s focus

on entities that produce military supplies or products that have a dual use is consistent with the

structure of 1260H(d)(1)(b)(II) and (d)(2), which focus on various types of connections between

the relevant entity and the Chinese defense industrial base. Finally, as explained below, see infra

III, the Department may permissibly interpret Section 1260H through a series of agency decisions,

applying a totality-of-the-circumstances standard. DoD has also supported its designation of Hesai

as residing in or being affiliated with a military-civil fusion enterprise zone with substantial

evidence, as demonstrated above.

       D.      Substantial Evidence Supports DoD’s Determination that Hesai Advertises
               on a Nongovernmental Military Equipment Procurement Platform.

       DoD has reasonably determined that Hesai is a military-civil fusion contributor to the

Chinese defense industrial base because it “advertises its products on Beijing Huawei Testing

Technology Co., Ltd.’s (Beijing Huawei Technology) website.” NDAR 16 (citing Section

1260H(d)(2)(G)). Contrary to Plaintiffs’ assertions, DoD both appropriately interpreted relevant

statutory language and supported its determination with substantial evidence.

       The record evidence compiled by DoD suffices to allow a reasonable factfinder to conclude

that Hesai “advertise[s] on . . . a non-governmental military equipment procurement platform in

the People’s Republic of China.” § 1260H(d)(2)(G). DoD found that several Hesai products are

advertised on Beijing Huawei Technology’s website. NDAR at 16, 1652. It further found that

Beijing Huawei Testing “sells, and provides technical service to hi-tech products which are mainly

used in aviation, aerospace, weapons, electronics, ships, transportation, and university systems.”

                                                30
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 34 of 54




NDAR 17 (citing NDAR at 1654). There can be no serious disagreement that a private website

selling “new products in high-tech fields” for use in, among other things, “weapons,” see NDAR

1654, qualifies as a “nongovernmental military equipment procurement platform” under the plain

meaning of that phrase. And there can be no dispute that Beihang University, a major Chinese

defense university designated and overseen by MIIT as one of “Seven Sons of National Defense,”

see NDAR 17, 1660-61, purchased three Hesai Group LiDARs from Beijing Huawei Technology.

NDAR 1656-59. According to the information on which DoD relied, “[t]he depth of the Seven

Sons’ integration with the military suggests that it would be more accurate to describe them as

defence universities rather than civilian universities.” NDAR 1660. The universities describe

themselves as “‘defence science, technology and industry work units’ or parts of the ‘defence

system.’” NDAR 1660. These universities “stand at the forefront of defence research in China”

and are a key node in the Chinese “military-civil fusion” strategy. NDAR 1662. It is thus

reasonable for DoD to rely on this evidence to conclude that Hesai advertised on a

nongovernmental military procurement website in China.

       None of this is a “tenuous chain of inferences,” as Plaintiffs argue. Hesai MSJ at 42. Rather,

a leading Chinese defense university, overseen by the Chinese government and closely integrated

into China’s military industrial base, purchased Hesai’s products advertised on a procurement

website that holds itself out to the Chinese defense industry. It is irrelevant to an APA analysis

that, months after DoD compiled its report on Hesai and designated it as a Chinese military

company, Beijing Huawei Technology disclaimed Hesai having advertised on its website. See ECF

No. 42-1 at 42 (Ex. D) (certified translation of statement). “It must be emphasized that the Court’s

review is limited to the administrative record, which ‘includes all materials compiled by the agency

that were before the agency at the time the decision was made.’” Calloway v. Harvey, 590 F. Supp.


                                                31
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 35 of 54




2d 29, 36 (D.D.C. 2008) (quoting James Madison Ltd. v. Ludwig, 82 F.3d 1085, 1095 (D.C. Cir.

1996)) (emphasis added). Setting aside the unestablished reliability of the self-serving statement,

it simply was not known to the Deputy Secretary of Defense at the time she rendered her decision.

       Even accepting Plaintiffs’ reading of the statute that Hesai itself must have advertised on

the website, see Hesai MSJ at 42-43; see also § 1260H(d)(2)(G), the Department reasonably

concluded that it did so. See NDAR 16. Beijing Huawei Technology does not appear to be a third-

party reseller platform akin to eBay, as Plaintiffs analogize. Hesai MSJ at 43. It would impose an

extra-statutory burden on DoD that Congress did not intend were it required to verify the actual

advertising entity for every seller on every Chinese military procurement website. And such

verification is practically infeasible. Rather, DoD reasonably looked at a nongovernmental military

equipment procurement platform, saw that Hesai’s products were listed and advertised there, and

gathered evidence that the products were sold to a leading defense research university. The

Department thus supported its conclusion with substantial evidence that Hesai advertises on a

nongovernmental military equipment procurement platform.

II.    DoD Was Not Required to Independently Show That Hesai Contributed to the
       Chinese Defense Industrial Base, But It Made that Showing Anyway.

       A.      The Department’s Determination Falls Within Its Statutory Authority.

       Section 1260H requires DoD to identify each entity determined to be a “Chinese military

company,” § 1260H(a). In defining “Chinese military company,” Congress requires DoD to place

on the Section 1260H List entities that are “identified as a military-civil fusion contributor to the

Chinese defense industrial base” and “engaged in providing commercial services, manufacturing,

producing, or exporting.” § 1260H(d)(1)(B)(i)(I), (d)(1)(B)(ii). DoD concluded that Hesai

contributes to the Chinese defense industrial base because it is a military-civil fusion contributor

engaged in providing commercial services. NDAR 11. Specifically, DoD determined that Hesai

                                                 32
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 36 of 54




furthers Chinese military-civil fusion by developing dual-use technologies with substantial

applications in both the civilian and military sectors. NDAR 11. This conclusion falls within the

Department’s statutory authority and is supported by substantial evidence.

       Contrary to Plaintiffs’ argument, see Hesai MSJ at 19-22, Congress did not require DoD to

demonstrate that an entity separately meets the definition of “a military-civil fusion contributor,”

and “contribut[es] to the Chinese defense industrial base.” To the contrary, in defining “Chinese

military company,” Congress requires DoD to place on the Section 1260H List entities: (1)

“identified as a military-civil fusion contributor to the Chinese defense industrial base” (the

identification requirement); (2) that are “engaged in providing commercial services,

manufacturing, producing, or exporting” (the conduct requirement). § 1260H(d)(1)(B)(i)(I),

(d)(1)(B)(ii). In other words, Section 1260H(d)(1)(B)(i)(I) identifies the entities that DoD must

assess for placement on the List, while Section 1260H(d)(1)(B)(ii) articulates the requisite

conduct. Plaintiffs, by contrast, conflate the identification and conduct requirements, in

contravention of Congress’ intent. Had Congress intended to adopt Plaintiffs’ preferred reading, it

could have done so by phrasing Section 1260H(d)(1)(B)(i)(II) differently, e.g., by defining Chinese

military companies as entities “identified as a military-civil fusion contributor that supply materiel

to the Chinese defense industrial base.” The more logical statutory interpretation is that the two

parts of Section 1260H(d)(1)(B)(i)(II), ostensibly bifurcated by Plaintiffs, are inextricably

intertwined: an entity contributes to the Chinese defense industrial base by virtue of it being a

military-civil fusion contributor.

       It is also beside the point whether the phrase “defense industrial base” does or does not

have a commonly understood meaning, see Hesai MSJ at 20, because Congress did not require the

Department to establish that an entity must contribute to the Chinese defense industrial base. The


                                                 33
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 37 of 54




relevant determination is rather whether an entity contributes to Chinese military-civil fusion. If

DoD makes such a determination, then by definition, in contributing to Chinese military-civil

fusion, an entity contributes to the Chinese defense industrial base by furthering the goals of

integrating the Chinese military and civilian industrial sectors. There is thus no logical need to

make a separate finding that an entity contributed to the Chinese defense industrial base, nor did

Congress impose any such requirement.

       Plaintiffs also mistakenly fault DoD for not making a finding that Hesai “supplies the

Chinese government or military with materials, products, and services for defense purposes.”

Hesai MSJ at 21 (internal punctuation omitted). Section 1260H(d)(1)(B) does not contain any

requirement that materiel be supplied to the Chinese military. Rather, it merely requires that DoD

demonstrate that Hesai, as a military-civil fusion contributor, “engaged in providing commercial

services, manufacturing, producing, or exporting.” And as explained above, the Department has

readily made this demonstration. See supra pages 32-33.

       Finally, there is a manifest difference between, on the one hand, a company producing

everyday items such as “paper [or] batteries [or] gasoline [or] canned food” that both civilians and

military personnel use because they are everyday items, Hesai MSJ at 21, and on the other hand,

an entity that develops advanced laser technology that is recognized as a dual-use technology with

substantial applications in the civilian and military sectors, making it a valuable asset for the

Chinese military. NDAR 11. As the D.C. Circuit has recognized, the Government of China

“endeavors strategically to pre-position commercial entities in the United States that the [Chinese

government] can later co-opt. These pre-positioning tactics can occur over the span of several

years of planning and implementation, and they are one part of the [Chinese government’s] broader

geopolitical and long-term strategy to undermine U.S. national security.” TikTok Inc., 2024 WL


                                                34
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25     Page 38 of 54




4996719, at *14 (internal quotations and citations omitted. The development of advanced laser

technology in the commercial sector thus assists Chinese military-civil fusion in a way that the

mere production of mundane items such as paper or batteries does not.

       B.      The Department’s Finding Is Supported by Substantial Evidence.

       Although DoD was not required to make an independent finding that Hesai contributed to

the defense industrial base, DoD nevertheless made such a finding and its so doing can be

considered merely an abundance of caution. See NDAR 11. Substantial evidence supports its

conclusion that Hesai advances China’s policy of military-civil fusion by manufacturing LiDAR

technology. The Department received information that Hesai is engaged in the development,

manufacture, and sales of LiDAR, which enables a broad spectrum of applications across

passenger or commercial vehicles with advanced driver assistance systems, autonomous vehicle

fleets providing passenger and freight mobility services, and other applications such as last-mile

delivery robots, street sweeping robots, and logistics robots in restricted areas. See NDAR 11

n.13. 14 DoD thus determined that Hesai develops LiDAR products that enable applications across

passenger and commercial vehicles and that are used in robotics. NDAR 11. Based on information

that LiDAR, including Hesai’s products, has become “the main ‘eyes’ for self-driving vehicles and

driver assistance systems in both military and civilian vehicles,” NDAR 1715, DoD concluded that

LiDAR is recognized as a dual-use technology with substantial applications in the civilian and

military sectors. NDAR 11. And based on information that “China is . . . pushing ahead with the

‘eyes’” of autonomous vehicles “that send the signals to the computer to interpret,” and that “[a]t

the front line of this race towards fully-realized autonomous vehicles is the push to dominate the




14
    The document cited, Pitchbook, Hesai Technology (NAS: HSAI), is available at
https://pitchbook.com/profiles/company/125781-31#overview.
                                            35
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 39 of 54




market for LiDAR (light detection and ranging) systems,” NDAR 1715, DoD concluded that

LiDAR is a valuable asset for the Chinese military. NDAR 11.

       The Department also received information that “[u]nder China’s policy of Military-Civil

Fusion,” the Chinese Academy of Sciences’ Shanghai Institute of Microsystems and Information

Technology (“SIMIT”) has made technological breakthroughs by improving the ability of

autonomous vehicles “to map and track targets,” which “has value to not just associated car

manufacturers, but also the PLA;” that “beyond these developments in the ‘brain’ of autonomous

vehicles, China is also pushing ahead with the ‘eyes’ that send the signals to the computer to

interpret;” and that ‘[a]t the front line of this race towards fully-realized autonomous vehicles is

the push to dominate the market for LiDAR,” which “became the main ‘eyes’ for self-driving

vehicles and driver assistance systems in both military and civilian vehicles.” NDAR 1715.

Additionally, the Department has information that “U.S. companies controlled the LiDAR market

until relatively recently, when Chinese companies rose seemingly out of nowhere to dethrone U.S.

dominance through state subsidies and other support” and that “[i]n particular, PRC documents

from 2020 note that numerous government organs were directed to surge their aid for ‘intelligent

vehicles’ and ‘establishing an integrated sensory system’ for urban environments.” NDAR 1715.

Based on this information, DoD concluded that the dual-use nature of LiDAR aligns with China’s

policy of military-civil fusion, and that that policy is aimed at modernizing China’s defense

capabilities. Based on reporting that the People’s Liberation Army is “developing autonomous

vehicles,” NDAR 1715, and that LiDAR is used in these vehicles, NDAR 1715, the Department

concluded that the PLA uses LiDAR in its development of autonomous vehicles, and that these

vehicles can have military applications. NDAR 11.




                                                36
       Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 40 of 54




       DoD has thus supported its determination that Hesai contributes to the Chinese defense

industrial base with substantial evidence. 15

III.   DoD Acted Reasonably in Applying Section 1260H’s Statutory Terms to Its
       Factual Determinations Regarding Hesai.

       In enacting Section 1260H, Congress chose to leave some statutory terms undefined,

including “affiliated with” MIIT, § 1260H(d)(2)(B); “Chinese military industrial planning

apparatus,” § 1260H(d)(2)(A); “nongovernmental military equipment procurement platform,”

§ 1260H(d)(2)(G) and “military-civil fusion enterprise zone,” § 1260H(d)(2)(E). As shown above,

DoD has explained its construction of these phrases, as well as the manner in which it has applied

its factual findings to its construction of these terms. Moreover, in determining whether an entity

falls within the strictures of Section 1260H’s provisions, the Department is free to apply a totality-

of-the-circumstances standard.

       Because DoD has acted reasonably in applying Section 1260H’s statutory terms to its

factual findings regarding Hesai, Plaintiffs err in arguing that DoD has engaged in arbitrary and

capricious decisionmaking. Hesai MSJ at 17-19. To the contrary, agencies may permissibly

“appl[y] an all-things-considered standard to implement a statute that confers broad discretionary

authority.” PDK Labs. Inc. v. DEA, 438 F.3d 1184, 1195 (D.C. Cir. 2006). An agency is not

“obliged to issue a comprehensive definition” of an undefined statutory term “all at once,” but



15
  Moreover, Plaintiffs err in contending that DoD’s findings contradict either its prior findings or
evidence in the administrative record, see Hesai MSJ at 23. DoD previously found that Hesai’s
products have a broad range of applications to passenger and commercial vehicles; it now
concludes that Hesai’s LiDAR products have “applications across passenger and commercial
vehicles,” NDAR 11, and also that LiDAR, including Hesai’s products, “is recognized as a dual-
use technology with substantial applications in the civilian and military sectors.” NDAR 11. No
contradiction exists between these two statements. The earlier determination’s silence regarding
whether Hesai LiDAR products’ dual-use applications is not tantamount to expressly finding that
these products lacked such applications. And as explained below, see infra at IV, Hesai’s March
and April 2024 materials do not contradict the Department’s findings.
                                               37
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 41 of 54




instead, when “fleshing out the contours” of such terms, are “entitled to proceed case by case.” Id.

at 1194 (citation omitted). Agencies may also elect to “provide[] no clear ‘line of demarcation’ to

define an open-ended term, instead choosing to establish the term’s contours through a series of

[agency decisions].” Id. (quoting Chippewa & Flambeau Improvement Co. v. FERC, 325 F.3d 353,

359 (D.C. Cir. 2003)); see also Catawba Cnty. v. EPA 571 F.3d 20, 39 (D.C. Cir. 2009).

       The Department thus can be viewed as proceeding through a series of agency decisions,

adopting a totality-of-the-circumstances standard to implement Section 1260H, a national security

statute conferring broad discretion to implement its provisions. Indeed, it is often infeasible to

specify in advance all of the factors that may be salient when assessing a potential national security

threat under a statute such as Section 1260H. Cf. Schall v. Martin, 467 U.S. 253, 279 (1984) (“a

prediction of future criminal conduct is ‘an experienced prediction based on a host of variables’

which cannot be readily codified”) (citation omitted).

       Plaintiffs thus misplace their reliance on cases such as ACA International v. FCC, 885 F.3d

687 (D.C. Cir. 2018), and Tripoli Rocketry v. ATF, 437 F.3d 75 (D.C. Cir. 2006). The D.C. Circuit

in ACA held that an FCC order designating the scope of an “automatic telephone dialing system”

for a federal robocall ban was unreasonable because it was either impermissibly broad (sweeping

in all smartphones under its scope) or too narrow (by not explaining why smartphones would be

excluded but not browsers). ACA Int’l, 885 F.3d at 697, 700. And Tripoli Rocketry found

unreasonable an ATF classification of a specific fuel as a regulated “explosive” because it

“deflagrates,” 437 F.3d at 77, where the agency had reserved “unbounded” discretion to define the

term “deflagrate.” Id. at 81. The court in Tripoli Rocketry specifically acknowledged that “it may

be necessary” for agencies to make “flexible” definitions, “accounting for gray areas where expert




                                                 38
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 42 of 54




discretion is necessary to characterize” when statutory terms apply to a particular situation, id.,

which is what DoD has done here. 16

       Cases such as ACA and Tripoli Rocketry belong to a line of cases originating with Pearson

v. Shalala, 164 F.3d 650 (D.C. Cir. 1999), but Pearson itself faulted an agency for failing to provide

“some definitional content” to a particular regulatory term it enforced. Id. at 660. By contrast, as

shown above, DoD has provided definitional content to statutory terms such as “Chinese defense

industrial base” and “Chinese military industrial planning apparatus.” Plaintiffs’ argument that the

Department has failed to articulate rational grounds for its decisionmaking therefore has no merit. 17

IV.    The Department Considered Hesai’s Submissions in Making Its October 2024
       Determination That Hesai Is a “Chinese Military Company.”

       The Department considered submissions from Hesai when it decided to re-list the company.

Even if the Court were to conclude that DoD has not considered these submissions, any error

would be harmless, and the appropriate remedy would be remand without vacatur. Contra Hesai

MSJ at 13-17.




16
   See also Iaccarino v. Duke, 327 F. Supp. 3d 163, 177 (D.D.C. 2018) (stating that the APA requires
only that “an agency’s explanation” “contain ‘a rational connection between the facts found and
the choice made’”) (quoting State Farm, 463 U.S. at 43); Pac. Nw. Newspaper Guild v. NLRB, 877
F.2d 998, 1003 (D.C. Cir. 1989) (requiring only that an agency’s order, to be enforceable, “be based
on an adequate explanation of why the [regulated entity’s] conduct violated the law”); Homer v.
Roche, 226 F. Supp. 2d 222, 226 (D.D.C. 2002) (explaining that “to prevail,” the agency “‘must
give a reason that the Court can measure, albeit with due deference,’ against the standard of the
APA”) (citation omitted).
17
   In any event, if the Court were to disagree and instead determine that DoD failed to provide an
adequate explanation for its actions, then the appropriate remedy would be remand without vacatur,
see infra IV.B, as even caselaw cited by Plaintiffs acknowledges. See, e.g., Tripoli Rocketry v. ATF,
437 F.3d 75, 84 (D.C. Cir. 2006) (remanding without vacatur “for further consideration consistent
with [the court’s] decision”); Mori v. Dep’t of Navy, 731 F. Supp. 2d 43, 49 (D.D.C. 2010)
(remanding to agency without vacatur for fuller explanation).
                                                  39
      Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 43 of 54




       A.      DoD Considered Submissions From Hesai in Its Re-Listing Decision.

       In the Hesai Group Report contained in the administrative record, NDAR 6-24, DoD

expressly stated that “Hesai Group provided information for the Department’s consideration in a

March 8, 2024 request for reconsideration,” and that “[t]he Department considered this

information during its analysis” of whether Hesai is a “Chinese military company.” NDAR 10.

The March 8, 2024 request for reconsideration included both the March 2024 letter, NDAR 371-

86, and the Li declaration, NDAR 387-95. Further, in April 2024, Defendants informed Plaintiffs

that the Department would “consider . . . all the information provided thus far in [its] ongoing

assessment of whether Hesai should remain on, or be removed from, the Chinese military company

list as required by Section 1260H,” including specifically the April 2024 letter regarding Hesai’s

communications with the Congressional Research Service. NDAR 1711. Thus, contrary to Hesai’s

contentions, DoD specifically stated that it considered these materials when making its

determination whether to include Hesai on the Section 1260H List. And in making its

determination, DoD decided that despite the statements made in these materials, there is substantial

evidence that Hesai is a “Chinese military company.”

       Contrary to Hesai’s argument, under the substantial-evidence standard, there is “no rigid

requirement that [an agency decisionmaker] specifically refer to every piece of evidence in [its]

decision.” Goodman v. Colvin, 233 F. Supp. 3d 88, 109 (D.D.C. 2017) (citation omitted). Rather,

“[u]nder the APA, the agency ‘need only consider the evidence;’ it need not mention every piece

of evidence it considered.” Smith v. Garland, 103 F.4th 1244, 1253 (7th Cir. 2024) (citation

omitted). Courts applying the APA’s deferential review standard will “‘uphold a decision of less

than ideal clarity if the agency’s path may reasonably be discerned’” where “the agency’s rationale




                                                40
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 44 of 54




and its reasonableness can be perceived readily enough.” Xcel Energy Servs. Inc. v. FERC, 41 F.4th

548, 557 (D.C. Cir. 2022) (citation omitted).

       Under the substantial-evidence standard, it suffices that an agency “expressly state[]” that

it “considered” relevant evidence, and that it “implicit[ly] reject[ed]” that evidence in its “choice

to give weight to” other evidence sufficient to support its decision. Krzywicki v. Del Toro, __ F.

Supp. 3d __, 2024 WL 4598338, at *8 (D.D.C. Oct. 29, 2024). Because that is what DoD did here,

its determination should be upheld. Plaintiffs place mistaken reliance on inapposite case law,

including Eagle County v. Surface Transportation Board, 82 F.4th 1152 (D.C. Cir. 2023), to argue

that DoD’s express statements that it considered the relevant evidence—specifically including the

materials at issue—is not sufficient. Because the court in Eagle County was analyzing an agency’s

obligations under the National Environmental Policy Act, 42 U.S.C. § 4321 et seq. (“NEPA”), the

agency was required to “take a ‘hard look’ at the environmental consequences of [its] actions, and

provide for broad dissemination of relevant environmental information.” Because NEPA’s “hard

look” standard does not apply here, Eagle County is inapposite. So too is Getty v. Federal Savings

& Loan Insurance Corp., 805 F.2d 1050 (D.C. Cir. 1986). At issue in Getty was an agency decision

that failed to consider factors that a specific statute, 12 U.S.C. § 1730a(m), required the agency to

consider. See Getty, 805 F.2d at 1051, 1054-57. Because Plaintiffs do not raise claims that DoD

failed to consider some factor that Congress specifically required it to consider in reaching its

decision, Getty’s applicability is negligible at best. Moreover, unlike the agency in Water Quality

Insurance Syndicate v. United States, 225 F. Supp. 3d 41 (D.D.C. 2016), here, DoD has neither

“ignored factual matters” nor “fail[ed] to respond adequately” to contrary arguments. Id. at 68. As

explained above, DoD has actually considered the materials submitted by Hesai in making its

determination, and as explained below, even if the arguments presented in Plaintiffs’ materials are


                                                 41
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25       Page 45 of 54




credited, substantial evidence would still support DoD’s decision. In any event, the agency

decision in Water Quality Insurance Syndicate—whether the captain of a vessel that caused an oil

spill had acted with gross negligence—turned on the weight afforded by the agency to

determinations of witness credibility, see id. at 68-71, a factor wholly absent from this case. 18

       Regardless, any purported agency error stemming from an alleged failure to consider

Plaintiffs’ submissions is harmless. “The APA provides that, in reviewing agency action, the court

‘shall’ take account of ‘the rule of prejudicial error,’ that is, whether the error caused prejudice.”

Nevada v. Dep’t of Energy, 457 F.3d 78, 90 (D.C. Cir. 2006) (quoting 5 U.S.C. § 706). Here, even

if the Court were to find that DoD had not considered Plaintiffs’ submissions, the error would be

harmless because its decision is still supported by substantial evidence. See Dillmon, 588 F.3d at

1089 (agency’s factual findings “may be supported by substantial evidence even though a plausible

alternative interpretation of the evidence would support a contrary view”) (citation omitted).

       First, DoD has determined that the LiDAR products developed by Hesai are recognized as

a dual-use technology with substantial applications in the civilian and military sectors. NDAR 11.

As it has also explained, LiDAR’s dual-use nature aligns with China’s policy of military-civil

fusion, which is aimed at modernizing its defense capabilities; for example, the People’s Liberation

Army of China uses LiDAR in its development of autonomous vehicles, which can have military

applications. NDAR 11. Thus, Hesai contributes to the Chinese defense industrial base through its

development of LiDAR products that are used in military equipment. NDAR 11.



18
   Plaintiffs also misplace their reliance on language quoted from Water Quality Insurance
Syndicate’s summary of two cases from this Circuit, Nat’l Ass’n of Clean Water Agencies v. EPA,
734 F.3d 1115 (D.C. Cir. 2013), and Dillmon v. Nat’l Transp. Safety Bd., 588 F.3d 1085 (D.C. Cir.
2009). See Water Quality, 225 F. Supp. 3d at 68. Neither case is applicable here, as both turned on
the issue of the relative weight afforded to the agency’s determination of a witness’s credibility.
Unlike Dillmon and Water Quality Insurance Syndicate, this case does not involve any alleged
failure to afford due weight to statements by a fact witness in the face of contradictory testimony.
                                                 42
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 46 of 54




       In light of these determinations, it is immaterial that one of Hesai’s submissions asserts that

Hesai’s technology is not designed, evaluated, or validated for military specifications. By its

nature, LiDAR has substantial dual-use applications in both military and civilian settings. Nor, for

the same reason, is it material that a Hesai submission alleges that Hesai does not sell its equipment

for military use. Because LiDAR has both military and civilian applications, NDAR 11, it is of

little weight whether Hesai specifically sells that equipment for military use when it may be

converted to such use. And regardless of Hesai’s representation that its products’ specifications are

at present below battlefield standards for military use, it remains the case that by their very nature,

these products have substantial uses in the military sector. See id. Any alleged failure by the agency

to consider Hesai’s materials would thus constitute harmless error because regardless of the

statements in these materials, substantial evidence remains to support DoD’s determination that

Hesai is a “Chinese military company.”

       Second, Hesai stated in a 2023 financial disclosure form that “the PRC government has

significant oversight and discretion over our business operation, and it may influence or intervene

in our operations at any time as part of its efforts to enforce PRC law.” NDAR 13. Based on this

statement, DoD concluded that the PRC Government could assist or require Hesai to make

business decisions that benefit the PRC militarily. NDAR 13.

       In light of this determination, it is beside the point that in one of Hesai’s submissions, it

avers that the statement in its 2023 financial disclosure form “merely informs investors of the

general risks of investing in companies based in China.” NDAR 392. It remains the case that the

Chinese government could require Hesai to make business decisions that benefit the PRC

militarily. It is similarly immaterial that one of Hesai’s submissions represents that to date,

“[n]either the Chinese government, the [PLA], nor any other organization subordinate to the


                                                  43
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 47 of 54




Central Military Commission of the Chinese Communist Party has interfered with, or had any

control over, Hesai’s operations and management.” NDAR 389. Regardless of the veracity of this

representation, it remains true that the Chinese government could in the future assist Hesai to make

decisions. Therefore, it was reasonable for DoD to conclude that Hesai is a contributor to the

Chinese defense industrial base, irrespective of Hesai’s submissions.

       B.      Hesai’s Additional Arguments Are Meritless.

       Hesai advances two additional arguments under this rubric: (1) that DoD has not

sufficiently acknowledged its change of course under FCC v. Fox Television Stations, Inc., 556

U.S. 502 (2009), and (2) that vacatur would be the appropriate remedy if the Court were to

determine that DoD had not considered Hesai’s submissions. See Hesai MSJ at 13-14, 16-17.

Neither argument has merit.

       First, it is not clear that Fox even applies to the present situation, where DoD has re-listed

a specific entity on the Section 1260H List under a different rationale. At issue in Fox was whether

“agency action that changes prior policy” “requir[es] a more substantial explanation” than a

decision made in the first instance. Fox, 556 U.S. at 514 (emphasis added). This case does not

challenge a broad change in overall agency policy. Instead, it involves DoD’s application of a

statute to a specific entity on two occasions, both of which reached the same conclusion (that the

entity should be included on the Section 1260H List), albeit the latter on broader grounds. But

there is no discernable policy shift at issue in this case akin to the FCC’s broad policy change in

Fox regarding the nature of its enforcement of the ban against expletives in television broadcasting.

       In any event, even if Fox did apply here, DoD’s decision passes muster. The Supreme Court

in Fox found “no basis in the [APA] or in our opinions for a requirement that all agency change be

subjected to more searching review” or any “heightened standard.” Id. On the contrary, when an


                                                 44
      Case 1:24-cv-01381-PLF           Document 47         Filed 01/08/25      Page 48 of 54




agency changes course, it must simply “display awareness that it is changing position” and show

that its “new policy is permissible under the statute, that there are good reasons for it, and that the

agency believes it to be better, which the conscious change of course adequately indicates.” Id. at

515. “This means that the agency need not always provide a more detailed justification than what

would suffice for a new policy created on a blank slate.” Id.

       These requirements are satisfied here. DoD displayed awareness that it was changing

position when it removed Hesai from the Section 1260H List and simultaneously re-listed the

company under a modified rationale. See 89 Fed. Reg. 86,230 (de-listing and re-listing Hesai).

This “conscious change of course” “adequately indicates” that DoD believes that its decision to

re-list Hesai is “better” than its prior designation of Hesai on the Section 1260H List. Fox, 556

U.S. at 515. And the administrative record demonstrates that Hesai’s inclusion on the Section

1260H List is both “permissible under the statute” and that there are “good reasons” for the

Department to designate Hesai according to the rationales it has presented. Id.

       These requirements, which DoD has thus satisfied, are all that Fox generally requires of an

agency that has made a policy change. It is true that Fox requires an agency to provide a “more

detailed justification than what would suffice for a new policy created on a blank slate” “when, for

example, its new policy rests upon factual findings that contradict those which underlay its prior

policy; or when its prior policy has engendered serious reliance interests that must be taken into

account.” Id. at 515 (citation omitted). But neither circumstance is presented here. Although DoD

has made new factual findings, Hesai has not shown that those findings contradict those that




                                                  45
       Case 1:24-cv-01381-PLF          Document 47        Filed 01/08/25      Page 49 of 54




underlay its prior determination. Nor has Hesai shown that DoD’s prior determination has created

any serious reliance interests. 19

        Second, even if the Court were to conclude that DoD had failed to consider Hesai’s

submissions and that such error was not harmless, remand without vacatur would be the

appropriate remedy. It is well settled that “[i]f the record before the agency does not support the

agency action [or] if the agency has not considered all relevant factors, . . . the proper course,

except in rare circumstances, is to remand to the agency for additional investigation or

explanation.” Erwin v. FAA, 23 F.4th 999, 1007 (D.C. Cir. 2022) (citation omitted). Courts in this

Circuit thus have discretion “to leave agency action in place while the decision is remanded for

further explanation.” Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032,

1051 (D.C. Cir. 2021). Two factors guide this discretion: “the seriousness of the action’s

deficiencies” and “the likely disruptive consequences of vacatur.” Am. Great Lakes Ports Ass’n v.

Schultz, 962 F.3d 510, 518 (D.C. Cir. 2020) (citations and internal punctuation omitted). “The

‘seriousness’ of a deficiency . . . is determined at least in part by whether there is ‘a significant

possibility that the [agency] may find an adequate explanation for its actions’ on remand.” Standing

Rock, 985 F.3d at 1051 (citation omitted).

        Here, both factors would weigh in favor of remand without vacatur if the Court were to

decide that the Department erred by failing to consider Hesai’s submissions. Case law suggests

that when a court remands to an agency to clarify the reasons supporting its decision, remand is

appropriate without vacating the agency’s order. U.S. Postal Serv. v. Postal Regulatory Comm’n,



19
  Nor, contrary to Hesai’s suggestion, is there any reason why the administrative record should
have included DoD’s prior designation of Hesai on the Section 1260H List. See Hesai MSJ at 17.
Because that prior designation is not being challenged here, it has no place in the administrative
record. The Department is also not required to include this prior designation in the record in order
for it to demonstrate its “awareness” that it is changing position. Fox, 566 U.S. at 515.
                                                   46
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 50 of 54




785 F.3d 740, 756 (D.C. Cir. 2015). Because the alleged error would simply reflect a deficiency in

explanation, there would be a substantial chance that DoD could remedy the alleged error by

providing additional explanation why the information in Hesai’s submissions does not warrant de-

listing Hesai. Additionally, the serious national security concerns underlying Congress’s creation

of the Section 1260H List evidence the dangerous consequences of erroneously de-listing an entity

determined by the Department to be a Chinese military company. Thus, if the Court were to

conclude that DoD had not considered Hesai’s submissions and that any concomitant error was

not harmless, the appropriate remedy would be remand without vacatur.

V.     There is No Due Process Violation.

       Plaintiffs incorrectly argue that DoD violated procedural due process by identifying them

on the Section 1260H List. See Hesai MSJ at 43-45. Generally, to state a due process claim, “the

plaintiff must show the Government deprived [the plaintiff] of a ‘liberty or property interest’ to

which she had a ‘legitimate claim of entitlement,’ and that ‘the procedures attendant upon that

deprivation were constitutionally [in]sufficient.’” Roberts v. United States, 741 F.3d 152, 161 (D.C.

Cir. 2014) (citation omitted). But Plaintiffs neither show that the Government deprived them of a

constitutionally protected liberty or property interest nor that any process was lacking.

       Plaintiffs first contend that their designation on the 1260H List will, beginning in 2026,

prevent them from pursuing DoD contracts that they admit having no present intention to pursue.

Hesai MSJ at 43. This claim is unripe. “A claim is premature and therefore unripe for judicial

review if it depends on ‘contingent future events that may not occur as anticipated, or indeed may

not occur at all.’” Saline Parents v. Garland, 88 F.4th 298, 306 (D.C. Cir. 2023) (citation omitted).

To determine ripeness, the Court evaluates “(1) the fitness of the issues for judicial decision and

(2) the hardship to the parties of withholding court consideration.” Id. (internal quotation and


                                                 47
      Case 1:24-cv-01381-PLF            Document 47       Filed 01/08/25      Page 51 of 54




citation omitted). Plaintiffs cannot show now that they will be banned from bidding on DoD

contracts in 2026—especially when they disclaim any present intention to do so—but instead ask

the Court to impermissibly adjudicate a “hypothetical set of facts.” Id. at 307. Because they have

no intention to bid on DoD contracts, there is no hardship to Plaintiffs by withholding consideration

of this purely hypothetical claim. 20

       Nor is caselaw concerning due process injuries to individuals prevented from pursuing their

chosen line of work relevant to this corporation’s ability to seek government contracts in the future.

Hesai MSJ at 43-44 (citing Taylor v. Resol. Tr. Corp., 56 F.3d 1497, 1506 (D.C. Cir. 1995), opinion

amended on reh’g, 66 F.3d 1226 (D.C. Cir. 1995)). The line of cases on which Hesai relies involve

a person’s “constitutionally protected right to follow a chosen trade or profession.” Kartseva v.

Dep’t of State, 37 F.3d 1524, 1529 (D.C. Cir. 1994) (internal quotation and citation omitted).

Nothing in the case law suggests that it extends to corporations with no history or intention of

seeking contracts from a particular government agency. A contracting ban in 2026 simply is not a

deprivation of a protected liberty or property interest here.

       Plaintiffs next contend that they have suffered reputational harm, asserting that they should

have been afforded pre-deprivation notice before Hesai’s identification. Hesai MSJ at 44-45.

Allegedly, this reputational harm has affected Hesai’s ability to raise capital and solicit U.S.

investment. Id. at 44. It is well established that reputational harm alone is not sufficient to

demonstrate a deprivation of a liberty or property interest such that they should be afforded due

process rights. See Paul v. Davis, 424 U.S. 693, 712 (1976) (concluding that harm to reputation



20
  Likewise, the effect of Hesai’s listing on the 1260H List on its ability to obtain grants, loans,
contracts, or other benefits from the Department of Energy, see 42 U.S.C. §§ 18912, 19235, or
under the Chips Act, see 42 U.S.C. §§ 18912(a)(3), (c)(1), 1923, remains purely hypothetical and
unfit for judicial review.
                                                 48
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 52 of 54




alone does not implicate any “liberty” or “property” interests sufficient to invoke the procedural

protection of the due process clause). Although Plaintiffs raise the specter of lost capital and

investment opportunities to try to bridge the gap, Hesai’s placement on the 1260H List did not

forbid any investor from doing business with Hesai nor Hesai doing business with any investor. In

other words, the Government has not effected any deprivation of property or liberty here. “To

prove constitutional injury, the plaintiff must show not only that the government has imposed some

stigma upon him, but also that it has worked some change in his status under law.” Taylor v. Resol.

Tr. Corp., 56 F.3d 1497, 1506 (D.C. Cir.), opinion amended on reh’g, 66 F.3d 1226 (D.C. Cir. 1995)

(citing Paul, 424 U.S. at 711–12). Hesai did not suffer any change in status under law here. For

this reason, Plaintiffs’ strained analogies to the sanctions context are unavailing. Hesai MSJ at 44

(citing People’s Mojahedin Org. of Iran (“Mojahedin”) v. U.S. Dep’t of State, 613 F.3d 220, 227-

28 (D.C. Cir. 2010); Nat’l Council of Resistance of Iran (“NCRI”) v. Dep’t of State, 251 F.3d 192,

208-09 (D.C. Cir. 2001)). In NCRI, for example, the D.C. Circuit explained that in addition to

“mere stigmatization,” the plaintiffs were “deprived of the previously held right to—for example—

hold bank accounts, and to receive material support or resources from anyone within the

jurisdiction of the United States.” NCRI, 251 F.3d at 204; see also Mojahedin, 613 F.3d at 223

(describing “three consequences” of the designation to include the Treasury Department freezing

assets, bars on entry to the United States, and criminal prosecution to those who knowingly provide

material support to the designated entity). The only possible harm Plaintiffs have suffered traceable

to the Government is to their reputation. No cognizable deprivation has occurred.

       In any event, “due process is flexible and calls for such procedural protections as the

particular situation demands.” Ralls Corp. v. Comm. on Foreign Inv. in U.S., 758 F.3d 296, 317

(D.C. Cir. 2014). Pre-deprivation notice is not necessarily required when, as here, national security


                                                 49
      Case 1:24-cv-01381-PLF           Document 47        Filed 01/08/25      Page 53 of 54




and foreign policy concerns are at stake. See, e.g., Lopez Bello v. Smith, 651 F. Supp. 3d 20, 40

(D.D.C. 2022), aff’d sub nom., Bello v. Gacki, 94 F.4th 1067 (D.C. Cir. 2024) (pre-deprivation

notice is not required when declining to do so advances an important governmental interest such

as preventing asset flight when implementing economic sanctions). If DoD had decided to afford

pre-deprivation notice in this context, Chinese military companies could alter their corporate

structure, change their names, remove evidence of their affiliation with China from the public

record, or otherwise obfuscate their identities to avoid being placed on the List.

       In sum, Hesai has not identified a deprivation of a protected interest nor any insufficient

“procedures attendant upon that deprivation.” Roberts, 741 F.3d at 161 (citation omitted). 21

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ Motion for Summary

Judgment and grant Defendants’ Cross-Motion for Summary Judgment.

Dated: January 8, 2024                        BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              LAUREN A. WETZLER
                                              Deputy Director, Federal Programs Branch

                                              /s/ Daniel Riess
                                              DANIEL RIESS (TX Bar No. 24037359)
                                              SAMSON COHEN (DC Bar No. 9004821)


21
  Plaintiffs have declined to meaningfully pursue the equal protection claims in the FAC; the Court
should consider them abandoned. See Aragon v. Tillerson, 240 F. Supp. 3d 99, 108 n.4 (D.D.C.
2017) (concluding that the plaintiff abandoned a constitutional claim because it was not addressed
in the briefing) (citing cases); see also 3883 Conn. LLC v. District of Columbia, 336 F.3d 1068,
1075 (D.C. Cir. 2003) (identifying “two essential elements to an equal protection claim:
(1) disparate treatment of similarly situated parties (2) on no rational basis”); Fraternal Order of
Police v. United States, 152 F.3d 998, 1002 (D.C. Cir. 1998), reh’g granted on other grounds, 173
F.3d 898 (D.C. Cir. 1999) (“Equal protection analysis is substantially identical under the Fifth
Amendment and the Fourteenth.”). Plaintiffs do not show that Defendants treated Hesai differently
from similarly situated companies. See FAC ¶¶ 119, 120, 124 (failing to identify similarly situated
companies). The substantial evidence supporting Hesai’s placement on the 1260H List plainly
provides a rational basis for its listing.
                                                 50
Case 1:24-cv-01381-PLF   Document 47    Filed 01/08/25    Page 54 of 54




                              United States Department of Justice
                              Civil Division, Federal Programs Branch
                              1100 L St. NW
                              Washington, D.C. 20005
                              Tel: (202) 353-3098
                              E-mail: daniel.riess@usdoj.gov
                              Attorneys for Defendants




                                51
